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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

AARON LETT, CIVIL ACTION
Plaintiff,
NO. 19-3170-KSM

y.

SOUTHEASTERN PENNSYLVANIA
TRANSPORTATION AUTHORITY, et al., Fill Tr)

Defendants. KV 8 0
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ORDER By__= i Dep. Cle

AND NOW this 26th day of November, 2021, upon consideration of Defendant

 

 

Southeastern Pennsylvania Transportation Authority’s (“SEPTA”) Motion for Summary
Judgment (Doc, No, 53), Plaintiff's opposition brief (Doc. No. 58), SEPTA’s reply brief (Doc.
No. 62), Defendant International Association of Sheet Metal, Air, Rail and Transportation
Workers, Transportation Division, Local 1594’s (“SMART”) Motion for Summary Judgment
(Doc, No. 52), Plaintiffs opposition brief (Doc. No. 59), SMART’s reply brief (Doc. No. 61),
Plaintiffs supplemental letter brief (Doc. No. 71), and SMART’s letter brief in response (Doc.
No. 72), it is ORDERED that the motions are GRANTED IN PART and DENIED IN PART
as follows:

1. Summary judgment is GRANTED to SEPTA and SMART to the extent Plaintiff
asserts a failure to accommodate claim based on their refusal to grant an exception to the
seniority-backed scheduling system.

2. Otherwise, the motions are DENIED.

IT IS FURTHER ORDERED that the Court’s February 11, 2021 Third Amended

Scheduling Order (Doc. No. 55) is AMENDED as follows:

 

 
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1. Counsel shall participate in a settlement conference to be scheduled by Magistrate
Judge Marilyn Heffley by December 31, 2021, if practicable.

2. No later than January 14, 2022, counsel for each party shall serve upon counsel
for every other party a copy of each exhibit the party expects to offer at trial.

3, No later than January 21, 2022, the parties shall file objections, if any, to
designations of deposition testimony which shall set forth the page and line numbers of the
challenged testimony and a clear statement for the basis of the objection. The objecting party shall
deliver to chambers a copy of the deposition transcript with the challenged testimony highlighted.
Any objection not made in conformity with this Order will be deemed waived,

4, All motions in limine shall be filed no later than January 21, 2022. Responses, if
any, shall be filed no later than January 31, 2022. Any brief or memorandum filed in support of
or in opposition to a motion in limine must be limited to five (5) pages of double-spaced 12-point
font. Absent leave of court, a party shall not file more than five (5) motions in limine.

5. No later than February 1, 2022, each party shall file with the Clerk of Court a
pretrial memorandum. The pretrial memoranda shall include the following:

(a) All stipulations of counsel;

(b) A statement of objection to: (1) the admissibility of any exhibit based on
authenticity; (11) the admissibility of any evidence expected to be offered for any reason (except
objections to relevancy); (iii) the adequacy of the qualifications of an expert witness expected to
testify and (iv) the admissibility of any opinion testimony from lay witnesses pursuant to Fed. R.
Evid. 701. Such objection shall describe with particularity the ground and the authority for the

objection.

 

 
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(c) Deposition testimony (including videotaped deposition testimony) that the
party intends to offer during its case-in-chief. The statement should include citations to the page
and line number and the opposing party’s counter-designations.

(d) Counsel must prepare one unified and agreed upon set of proposed jury
instructions on substantive issues and one proposed verdict form or set of special interrogatories
to the jury. If counsel cannot agree on a particular instruction, they must submit their competing
versions along with a statement explaining why the Court should give their proposed instruction.
Proposed jury instructions must be tailored and personalized for the case and should include
accurate quotes from, and citations to, cases and pattern jury instructions where appropriate. If
pattern instructions are to be given, those instructions should be taken from the Third Circuit
Model Jury Instructions wherever possible. United States Supreme Court or Third Circuit Court
of Appeals cases should be cited wherever applicable. In addition to filing the proposed jury
instructions and verdict form on the Court’s docket, the parties must e-mail the documents in
Word format to Chambers Judge Marston@paed.uscourts.gov.

6. A final pretrial conference will be held on February 8, 2022 at 10:00 a.m., in
Chambers (Room 5614). Counsel shall be prepared to address any pending motions in limine,
and objections to witnesses and exhibits. It is expected that counsel attempted to resolve all
objections to exhibits and testimony prior to the final pretrial conference, leaving for the Court
only those objections the parties could not resolve. Counsel are also expected to have discussed
with their respective clients prior to the conference the issues to be addressed at any conference
with the Court and to come to the conference with all necessary authority. Trial counsel must
attend the final pretrial conference and only those attorneys attending the conference may

participate in the trial.

 

 
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7. At the final pretrial conference, the parties shall provide the Court with a copy of
each exhibit and two copies of a schedule of exhibits which shall describe each exhibit. Exhibits
shall be arranged and tabbed in a three-ring binder.

8. No later than February 17, 2022, counsel shal! submit a trial brief on the legal
issues to be resolved at trial.

9. Only those exhibits, discovery items and expert witnesses identified in the manner
set forth in this Order shall be considered for admission into evidence at trial, unless stipulated to
by all affected parties and approved by the Court.

| 10. The unavailability of a witness will not be a ground to delay the commencement or
progress of an ongoing trial. If a witness may be unavailable at the time of trial in the manner
defined in Federal Rule of Civil Procedure 32(a)(4), testimony must be presented by oral or
videotape deposition at trial.

ll. This case will be listed for trial on March 3, 2022 at 9:30 a.m. in Courtroom
TBD. Counsel and all parties shall be prepared to commence trial on that date. All counsel are
attached for trial.

IT IS SO ORDERED.

/s/Karen Spencer Marston

 

KAREN SPENCER MARSTON, J.

 

 
